                                               Entered on Docket
                                               April 04, 2018
                                               EDWARD J. EMMONS, CLERK
                                               U.S. BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF CALIFORNIA
1      JAMES ANDREW HINDS, JR. (SBN Signed
                                         71222)and Filed: April 4, 2018
       jhinds@jhindslaw.com
2      PAUL R. SHANKMAN (SBN 113608)
3      pshankman@jhindslaw.com
       RACHEL M. SPOSATO (SBN 306045)
4      rsposato@jhindslaw.com
       HINDS & SHANKMAN, LLP
5      21257 Hawthorne Blvd., Second Floor
                                           ________________________________________
       Torrance, California 90503          DENNIS MONTALI
6      Telephone: (310) 316-0500           U.S. Bankruptcy Judge
7      Facsimile: (310) 792-5977

8      General Bankruptcy Counsel for Great Vista Real Estate
       Investment Corporation, Debtor and Debtor-in-possession
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                               UNITED STATES BANKRUPTCY COURT
11
                               NORTHERN DISTRICT OF CALIFORNIA
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13                                    SAN FRANCISCO DIVISION

14
       In re:                                             Case No. 18-30032-DM
15
       GREAT VISTA REAL ESTATE INVESTMENT                 Chapter 11
16     CORPORATION,
17                                                        ORDER AUTHORIZING THE SALE OF
                           Debtor.                        126 ATHERTON AVENUE, ATHERTON,
18                                                        CALIFORNIA FREE AND CLEAR OF
                                                          LIENS, CLAIMS, ENCUMBRANCES,
19                                                        AND OTHER INTERESTS; (II)
                                                          APPROVING RELATED PAYMENTS OF
20                                                        CLAIMS THROUGH ESCROW AND (III)
21                                                        GRANTING RELATED RELIEF

22                                                        Date: March 30, 2018
                                                          Time: 11:00 a.m.
23                                                        Ctrm: 17, 450 Golden Gate Ave., 16th
                                                          Floor, San Francisco, CA 94102
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         ORDER AUTHORIZING THE SALE OF 126 ATHERTON AVENUE, CALIFORNIA FREE AN CLEAR OF
     Case: 18-30032 Doc# 83 CLAIMS,
                       LIENS, Filed: 04/04/18 Entered:
                                      ENCUMBRANCE,  AND04/04/18 16:38:26 Page 1 of 5
                                                        OTHER INTERESTS
1             At the above-referenced date, time and location, the Honorable Dennis Montali,

2      United States Bankruptcy Judge for the Northern District of California, held a hearing on the

3      Debtor’s Motion For An Order: (1) Approving the Sale of Assets of the Estate Free and

4      Clear of Liens and Other Interests; (2) Finding Buyer is a Good Faith Purchaser; and (3)

5      Waiving 14-Day Stay of FRBP 6004(h). Appearances at the Hearing were made as set

6      forth on the record of the Court.

7             Upon consideration of the Motion, the Memorandum of Points and Authorities and

8      Declarations of Shelby Ho, James Andrew Hinds, Jr., and Monica Yeung Arima in support

9      thereof, the Oppositions file by DFI Technologies, LLC and Official Committee of Unsecured

10     Creditors of Liberty Asset Management Corporation, all evidence submitted in support of the

11     foregoing, the statements, representations and arguments of counsel made on the record at

12     the Hearing, the entire record of this bankruptcy case, and based further upon the findings

13     of fact and conclusions of law as stated on the record (all such findings and conclusions

14     which are hereby incorporated by reference pursuant to Rule 7052 of the Federal Rules of

15     Bankruptcy Procedure, and it appearing that notice of the Motion and the sale of that certain

16     real property and improvements located at 126 Atherton Avenue, Atherton, CA 94027

17     (hereinafter referred to as the “Property”) was proper, and for good cause appearing,

18

19            THE COURT HEREBY FINDS AND DETERMINES THAT:

20            Jurisdiction, Final Order and Statutory Predicates

21            A.     This Order constitutes a final order within the meaning of 28 U.S.C. § 158(a).

22            Notice of the Motion

23            B.     The notice of the Motion was properly served in accordance with Federal

24     Rules of Bankruptcy Procedure and Northern District of California Local Bankruptcy Rules.

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                                                        OTHER INTERESTS
1            Good Faith of Buyer

2            C.      Buyer has acted in good faith with respect to the sale of the Property and if all

3      of the conditions to closing occur are satisfied, Buyer shall purchase the Property in good

4      faith, and shall be a good-faith buyer within the meaning of § 363(m) of the Bankruptcy

5      Code, and is therefore entitled to all of the protections afforded by Bankruptcy Code §

6      363(m). Buyer has proceeded in good faith in all respects in connection with this

7      proceeding.

8            Highest or Best Offer

9            D.      The sale of the Property to Buyer maximizes the value of the Property and

10     provides a better recovery for the Debtor’s Estate than would have been provided in any

11     other alternative in light of the circumstances of this case. The Debtor’s determination to

12     sell the Property to the Buyer constitutes the highest or best offer for such asset and

13     constitutes a valid exercise if the Debtor’s business judgment.

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15           IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

16                1. The Motion is GRANTED as set forth herein.

17                2. The Purchase and Sale Agreement is authorized and approved in its entirety.

18                3. Pursuant to §§ 105 and 363 of the Bankruptcy Code, the Debtor is authorized,

19                   in its discretion and in the exercise of its business judgment, to sell the

20                   Property pursuant to the Purchase Agreement free and clear of all liens,

21                   claims, interests, and encumbrances, to perform all obligations under the

22                   Purchase Agreement (including payment of the Broker Fee and the Other

23                   Closing Costs out of the proceeds of the Sale), and to take any other

24                   reasonable actions that may be necessary in the Debtor’s good faith business

25                   judgment to effectuate closing of the Sale, and that any actions taken by the

26                   Debtor is necessary or desirable to consummate such transactions prior to the

27                   entry of this Order are hereby ratified.

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                                                        OTHER INTERESTS
1               4. The Debtor and any title company are authorized to transfer title and deed

2                  property, and take any other actions as may be necessary to transfer

3                  ownership of the Property to the Buyer.

4               5. All persons and entities holding liens, claims, interests or encumbrances with

5                  respect to the Property are hereby barred from asserting such Interests

6                  against the Buyer, theirs successors or assigns, or the Property.

7               6. Upon closing, the Debtor is directed, to pay over, or instruct escrow to pay

8                  over, the proceeds realized by the Debtor from the sale of the Property as

9                  follows:

10              (i) The Redwood Lien which shall be paid in in accordance with the agreement

11           stated on the record at the Hearing;

12              (ii) The DFI 2nd Lien which shall be paid in full through escrow;

13              (iii) The Hsing-Chieh Shih Lien which shall be paid in full through escrow;
14              (iv) The Phyllis Shih Lien which shall be paid in full through escrow;
15              (v) The DFI 5th Lien which shall be paid in full through escrow;
16              (vi) The DFI 6th Lien which shall be paid in full through escrow; and
17              (vii) The Tax Lien which shall be paid in full through the close of escrow.
18              (viii) Customary and ordinary closing costs, including escrow and title costs,
19           broker commissions to the respective real estate brokers.
20              7. All proceeds of the Sale (net of the Broker Fee and Other Closing Costs), if
21                 any, shall be paid to into the Debtor’s general DIP account and such net
22                 proceeds shall be disbursed and otherwise treated by the Debtor in
23                 accordance with the final Orders of this Court.
24              8. The Debtor shall be authorized and empowered to take any necessary actions
25                 to implement and effectuate the terms of this Order.
26              9. The terms and conditions of this Order shall be immediately effective and
27                 enforceable upon its entry notwithstanding any applicability of Bankruptcy Rule
28                 6004(h).

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                                                        OTHER INTERESTS
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2                                     ***END OF ORDER***
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